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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  INTERTRUST TECHNOLOGIES CORP.,                 §
       Plaintiff,                                §
                                                 §
  v.                                             §     Civil Action No. 2:19-cv-266
                                                 §     (LEAD CASE)
  CINEMARK HOLDINGS, INC.,                       §
       Defendant.                                §
                                                 §
  INTERTRUST TECHNOLOGIES CORP.,                 §
       Plaintiff,                                §
                                                 §
  v.                                             §     Civil Action No. 2:19-cv-265
                                                 §
  AMC ENTERTAINMENT HOLDINGS,                    §
  INC.,                                          §
        Defendant.                               §
                                                 §
  INTERTRUST TECHNOLOGIES CORP.,                 §
       Plaintiff,                                §
                                                 §
  v.                                             §     Civil Action No. 2:19-cv-267
                                                 §
  REGAL ENTERTAINMENT GROUP,                     §
      Defendant.                                 §
                                                 §

                                             ORDER

        Before the Court is Defendants’ Motion to Stay Actions Pending Mandamus Proceedings.

 Having considered the briefing of the parties, the Court GRANTS Defendants’ Motion. The

 above-captioned actions are hereby stayed pending the appellate court’s resolution of Defendants’

 pending mandamus proceedings.
